   Case: 1:24-cv-04948 Document #: 43 Filed: 07/24/24 Page 1 of 10 PageID #:413




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 FIAS INC.,
                                                     Civil Action No. 24-cv-4948
                   Plaintiff,
        v.                                           Judge: Hon. Manish S. Shah

 THE INDIVIDUALS, CORPORATIONS,
 LIMITED LIABILITY COMPANIES,
 PARTNERSHIPS, AND
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE A TO
 THE COMPLAINT,

                  Defendants.


                          DEFAULT FINAL JUDGMENT ORDER

       This action having been commenced by Plaintiff FIAS Inc. (“Plaintiff”) against the

defendants identified on Schedule A, and using the Defendant Domain Names and Online

Marketplace Accounts identified on Schedule A (collectively, the “Defendant Internet Stores”),

and Plaintiff having moved for entry of Default and Default Judgment against the defendants

identified on Schedule A attached hereto which have not yet been dismissed from this case

(collectively, “Defaulting Defendants”);

       This Court having entered a preliminary injunction; Plaintiff having properly completed

service of process on Defaulting Defendants, the combination of providing notice via electronic

publication and e-mail, along with any notice that Defaulting Defendants received from domain

name registrars and payment processors, being notice reasonably calculated under all

circumstances to apprise Defaulting Defendants of the pendency of the action and affording them

the opportunity to answer and present their objections; and
   Case: 1:24-cv-04948 Document #: 43 Filed: 07/24/24 Page 2 of 10 PageID #:414




       None of the Defaulting Defendants having answered or appeared in any way, and the time

for answering having expired, so that the allegations of the Complaint are uncontroverted and are

deemed admitted;

        This Court finds that it has personal jurisdiction over Defaulting Defendants because

 Defaulting Defendants directly target their business activities toward consumers in the United

 States, including Illinois. Specifically, Plaintiff has provided a basis to conclude that Defaulting

 Defendants have targeted sales to Illinois residents by setting up and operating e-commerce

 stores that target United States consumers using one or more seller aliases, offer shipping to

 the United States, including Illinois, accept payment in U.S. dollars and/or funds from U.S.

 bank accounts, and have sold products using infringing and counterfeit versions of Plaintiff’s

 federally copyrighted works (the “Copyrighted Works”) to residents of Illinois. In this case,

 Plaintiff has presented screenshot evidence that each Defendant e-commerce store is reaching

 out to do business with Illinois residents by operating one or more commercial, interactive

 internet stores through which Illinois residents can and do purchase products using counterfeit

 versions of the Copyrighted Works. See Docket Nos. 11-12, which includes screenshot

 evidence confirming that each Defendant e-commerce store does stand ready, willing and able

 to ship its counterfeit goods to customers in Illinois bearing infringing and/or counterfeit

 versions of the Copyrighted Works.

       A list of the Copyrighted Works is included in the below chart.




                                                  2
   Case: 1:24-cv-04948 Document #: 43 Filed: 07/24/24 Page 3 of 10 PageID #:415




 Registration Number and Title       Copyrighted Images

 VA 2-394-627

 Rustic flowers in earthy tones




 VA 2-394-628

 abstract painting of multicolored

 leaves




       This Court further finds that Defaulting Defendants are liable for willful copyright

infringement, (17 U.S.C. § 504).



                                            3
     Case: 1:24-cv-04948 Document #: 43 Filed: 07/24/24 Page 4 of 10 PageID #:416




       Accordingly, this Court orders that Plaintiff’s Motion for Entry of Default and Default

Judgment is GRANTED as follows, that Defaulting Defendants are deemed in default, and that

this Default Judgment is entered against Defaulting Defendants.

       This Court further orders that:

1.     Defaulting Defendants, their officers, agents, servants, employees, attorneys, and all

       persons acting for, with, by, through, under, or in active concert with them be permanently

       enjoined and restrained from:

       a. using the Copyrighted Works or any reproductions, counterfeit copies, or colorable

           imitations in any manner in connection with the distribution, marketing, advertising,

           offering for sale, or sale of any product that is not a genuine product made by Plaintiff

           or not authorized by Plaintiff to be sold;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           product made by Plaintiff, that is not Plaintiff’s or not produced under the authorization,

           control, or supervision of Plaintiff and approved by Plaintiff for sale;

       c. committing any acts calculated to cause consumers to believe that Defaulting

           Defendants’ products are those sold under the authorization, control, or supervision of

           Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff; and

       d. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

           storing, distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or

           offered for sale that constitute or include the Copyrighted Works, or any reproductions,

           counterfeit copies or colorable imitations.




                                                 4
     Case: 1:24-cv-04948 Document #: 43 Filed: 07/24/24 Page 5 of 10 PageID #:417




2.     Defaulting Defendants and any third party with actual notice of this Order who is providing

       services for any of the Defaulting Defendants, or in connection with any of the Defaulting

       Defendants’ Online Marketplaces, including, without limitation, any online marketplace

       platforms such as eBay, Inc., AliExpress, Alibaba Group Holding Ltd. (“Alibaba”),

       Amazon.com, ContextLogic, Inc. d/b/a Wish.com (“Wish.com”), Walmart, Temu, and

       Dhgate (collectively, the “Third Party Providers”), shall within seven (7) calendar days of

       receipt of this Order cease:

              a. using, linking to, transferring, selling, exercising control over, or otherwise

              owning the Online Marketplace Accounts, or any other online marketplace account

              to sell counterfeit and infringing goods using the Copyrighted Works; and

              b. operating and/or hosting websites that are involved with the distribution,

              marketing, advertising, offering for sale, or sale of any product bearing the

              Copyrighted Works or any reproductions, counterfeit copies or colorable imitations

              thereof that is not a genuine product made by Plaintiff or not authorized by Plaintiff

              to be sold.

3.     Upon Plaintiff’s request, those with notice of this Order, including the Third-Party

       Providers as defined in Paragraph 2, shall within seven (7) calendar days after receipt of

       such notice, disable and cease displaying any advertisements used by or associated with

       Defaulting Defendants in connection with the sale of counterfeit and infringing goods using

       the Copyrighted Works.

4.     Pursuant to 17 U.S.C. § 504, Plaintiff is awarded statutory damages from each of the

       Defaulting Defendants in the amount of five thousand dollars ($5,000) for willful use of

       counterfeit Copyrighted Works on products sold through at least the Defendant Internet


                                                5
     Case: 1:24-cv-04948 Document #: 43 Filed: 07/24/24 Page 6 of 10 PageID #:418




       Stores. This award shall apply to each distinct Defaulting Defendant only once, even if

       they are listed under multiple different aliases in the Complaint and Schedule A.

5.     Any Third Party Providers holding funds for Defaulting Defendants, including PayPal, Inc.

       (“PayPal”), Alipay, Alibaba, Walmart, Temu, Wish.com, Ant Financial Services Group

       (“Ant Financial”), and Amazon Pay, shall, within seven (7) calendar days of receipt of this

       Order, permanently restrain and enjoin any accounts connected to Defaulting Defendants

       or the Defendant Internet Stores from transferring or disposing of any funds (up to the

       statutory damages awarded in Paragraph 4 above) or other of Defaulting Defendants’

       assets.

6.     All monies (up to the amount of the statutory damages awarded in Paragraph 4 above)

       currently restrained in Defaulting Defendants’ financial accounts, including monies held

       by Third-Party Providers such as PayPal, Alipay, Alibaba, Wish.com, Walmart, Temu, Ant

       Financial, and Amazon Pay, are hereby released to Plaintiff as partial payment of the

       above-identified damages, and Third Party Providers, including PayPal, Alipay, Alibaba,

       Wish.com, Walmart, Temu, Ant Financial, and Amazon Pay, are ordered to release to

       Plaintiff the amounts from Defaulting Defendants’ financial accounts within fourteen (14)

       calendar days of receipt of this Order.

7.     Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

       Defendant, Plaintiff shall have the ongoing authority to commence supplemental

       proceedings under Federal Rule of Civil Procedure 69.

8.     In the event that Plaintiff identifies any additional online marketplace accounts or financial

       accounts owned by Defaulting Defendants, Plaintiff may send notice of any supplemental

       proceeding, including a citation to discover assets, to Defaulting Defendants by e-mail at


                                                 6
     Case: 1:24-cv-04948 Document #: 43 Filed: 07/24/24 Page 7 of 10 PageID #:419




       the e-mail addresses identified in Exhibit 1 to the Declaration of Wu and any e-mail

       addresses provided for Defaulting Defendants by third parties.

9.     The fifty thousand dollar ($50,000) surety bond posted by Plaintiff is hereby released to

       Plaintiff or its counsel, Whitewood Law PLLC. The Clerk of the Court is directed to return

       the surety bond previously deposited with the Clerk of the Court to Plaintiff or its counsel.




This is a Default Judgment.

Dated: July 24, 2024                         ENTERED:




                                             Manish S. Shah
                                             United States District Judge




                                                7
      Case: 1:24-cv-04948 Document #: 43 Filed: 07/24/24 Page 8 of 10 PageID #:420




                                         Schedule A

DOE #              Defendant                           Infringing Link               Payment
  1               DISMISSED                              DISMISSED                   Amazon
  2               DISMISSED                              DISMISSED                   Amazon
  3               DISMISSED                              DISMISSED                   Amazon
  4               DISMISSED                              DISMISSED                   Amazon
        dayeshiqirenshangmaoyouxiango   https://www.amazon.com/sp?ie=UTF8&seller=
  5                                                                                  Amazon
                      ngsi                            A67ECPAD8L243
                                        https://www.amazon.com/sp?ie=UTF8&seller=
  6            GCIREC Decor                                                          Amazon
                                                    A3FA8GUMOOG1I2
  7             DISMISSED                                DISMISSED                   Amazon
  8             DISMISSED                                DISMISSED                   Amazon
  9             DISMISSED                                DISMISSED                   Amazon
                                        https://www.amazon.com/sp?ie=UTF8&seller=
 10             JESTRONRY                                                            Amazon
                                                    A3CYQAOIFVFFKU
                                        https://www.amazon.com/sp?ie=UTF8&seller=
 11               JYHYQ                                                              Amazon
                                                     A6EWLRJUYR23G
 12             DISMISSED                                DISMISSED                   Amazon
 13             DISMISSED                                DISMISSED                   Amazon
 14             DISMISSED                                DISMISSED                   Amazon
                                        https://www.amazon.com/sp?ie=UTF8&seller=
 15               Quietchan                                                          Amazon
                                                   A3EF3KYCMYMQML
 16             DISMISSED                                DISMISSED                   Amazon
                                        https://www.amazon.com/sp?ie=UTF8&seller=
 17               Sunycler                                                           Amazon
                                                     A1WSF5P52RJ42Q
                                        https://www.amazon.com/sp?ie=UTF8&seller=
 18               SXCHEN                                                             Amazon
                                                    A3FYIKKFDORJ1G
 19             DISMISSED                                DISMISSED                   Amazon
                                        https://www.amazon.com/sp?ie=UTF8&seller=
 20              Tigersilver                                                         Amazon
                                                    A2ENY609YSQKF7
 21             DISMISSED                                DISMISSED                   Amazon
 22             DISMISSED                                DISMISSED                   Amazon
 23             DISMISSED                                DISMISSED                   Amazon
 24             DISMISSED                                DISMISSED                   Amazon
                                        https://www.amazon.com/sp?ie=UTF8&seller=
 25              yangshu us                                                          Amazon
                                                    A135ATZDNV8LGC
                                        https://www.amazon.com/sp?ie=UTF8&seller=
 26              Yingyoung                                                           Amazon
                                                    A2DI8L4O7DAK2K
 27             DISMISSED                                DISMISSED                   Amazon
 28             DISMISSED                                DISMISSED                   Amazon
 29             DISMISSED                                DISMISSED                   Amazon
                                        https://www.temu.com/a-home-supply-shop-m-
 30          A home supply shop                                                       Temu
                                                   634418212947340.html


                                              8
     Case: 1:24-cv-04948 Document #: 43 Filed: 07/24/24 Page 9 of 10 PageID #:421




                                     https://www.temu.com/alexander-life-shop-m-
31           Alexander life shop                                                    Temu
                                                     5826885192466.html
32              DISMISSED                                DISMISSED                  Temu
                                            https://www.temu.com/boniuniu-m-
33              BONIUNIU                                                            Temu
                                                     5005568922796.html
                                           https://www.temu.com/chen-case-m-
34             CHEN CASE                                                            Temu
                                                   634418209451286.html
                                          https://www.temu.com/daimeng-ss-m-
35             DAIMENG SS                                                           Temu
                                                   634418213913443.html
36              DISMISSED                                DISMISSED                  Temu
37              DISMISSED                                DISMISSED                  Temu
                                      https://www.temu.com/feiyi-home-textile-m-
38           Feiyi home textile                                                     Temu
                                                       57202845060.html
                                             https://www.temu.com/ganjing-m-
39               GANJING                                                            Temu
                                                   634418212912102.html
                                            https://www.temu.com/giaotihm-m-
40              GIAOTIHM                                                            Temu
                                                       37879341575.html
                                    https://www.temu.com/home-decor-door-curtain-
41        Home decor door curtain                                                   Temu
                                                 m- 634418214280711.html
42              DISMISSED                                DISMISSED                  Temu
43              DISMISSED                                DISMISSED                  Temu
44              DISMISSED                                DISMISSED                  Temu
                                            https://www.temu.com/ka-shuo-m-
45               KA SHUO                                                            Temu
                                                     5200051376434.html
46              DISMISSED                                DISMISSED                  Temu
                                       https://www.temu.com/madala-fabric-art-m-
47            Madala fabric art                                                     Temu
                                                     4942488112124.html
                                          https://www.temu.com/one-begets-m-
48               One begets                                                         Temu
                                                     4551229514531.html
                                             https://www.temu.com/puduoh-m-
49               PUDUOH                                                             Temu
                                                      313868342188.html
                                            https://www.temu.com/sensning-m-
50              SENSNING                                                            Temu
                                                   634418212030856.html
                                    https://www.temu.com/shehanxi-home-textile-m-
51         Shehanxi Home Textile                                                    Temu
                                                     3389056918671.html
                                              https://www.temu.com/smdiy-m-
52                 smdiy                                                            Temu
                                                   634418210980521.html
53              DISMISSED                                DISMISSED                  Temu
54              DISMISSED                                DISMISSED                  Temu
                                            https://www.temu.com/tengyese-m-
55               TengYeSe                                                           Temu
                                                   634418213549872.html
56              DISMISSED                                DISMISSED                  Temu
57              DISMISSED                            DISMISSED                      Temu
                                          https://www.temu.com/unicornly-m-
58             UNICORNLY                                                            Temu
                                                 634418210900331.html
                                       https://www.temu.com/wealthy-carpet-m-
59            Wealthy Carpet                                                        Temu
                                                 634418212782260.html

                                           9
     Case: 1:24-cv-04948 Document #: 43 Filed: 07/24/24 Page 10 of 10 PageID #:422




60              DISMISSED                           DISMISSED                       Temu
61              DISMISSED                           DISMISSED                       Temu
62              EXCEPTED
                                            https://www.temu.com/yetton-m-
63                 yetton                                                           Temu
                                                   5328668757027.html
64              DISMISSED                              DISMISSED                    Temu
                                            https://www.temu.com/yueyao-m-
65                YueYao                                                            Temu
                                                    120423949601.html
                                         https://www.temu.com/zejunjiafeng-m-
66              Zejunjiafeng                                                        Temu
                                                  634418211852185.html
67              DISMISSED                              DISMISSED                    Temu
                                    https://www.walmart.com/browse/0?facet=brand
68             leskayiz Home                                                       Walmart
                                                        :Ieskayiz
                                    https://www.walmart.com/browse/0?facet=brand
69              xiaxiagongsi                                                       Walmart
                                                       :mvhsuoem




                                          10
